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EXHIBIT C
Case 2:14-cv-11916-GCS-SDD ECF No. 76-4, PagelD.2436 Filed 03/24/16 Page 2 of 20

HNNRY PORD HOSPITAL

Natalie Reeser Missed Pav Period € hronology
Claim # 177607
March 20, 2014

On January 20, 2014, Ms, Natalie Reeser placed Henry Ford Hospital Human Resoaress on
notice that she was 1 sumally the sole employee assigned to service castomers/patients at Car
Clinton Township Cilnic, Ms, Reeser informed me that her normal scheduis Monday —
Thursday was a 9.5 bour shift to allow for the 30 minute unpaid lunch break and therefore paid
for 9 hours per day. ivis, Reeser stated that she was required to service euslomer/patients a1 any
thn during her shift and thus was not allotted the 30 minuze hmels break.

The departmental leadership was contacted at which point it was iearved that the 30 minute
inneh period was Indeed not heing paid as that there were oumerous days when Ms, Reeserhad
very few customers/pationts to service. The departmental leadership was Intermed that despite
the “ile Lime”, Ms. Reeser was required to bc at her workplace for the entire shift io service any
enstonlers/patients that arvived and was being “engaged to wait”, thus, ening het to payment
for these periads.

Atthis point, a review commenced ta deerminc the amount owed in Ms. Reoser. The folk: owing
information wus gathered fora time period aF2 years back from the day ia wideh Ms, Reeser
placed Henry Ford Hospital an notice;
° Time wuirds submitted by Ms, Reeser
6 Payroll records fiom leb 20, 2012 t the March 4, 2014 (end daie of investigetion):
v To idensify the number of hours worked each day te determine which days wer
ciigible for the paid 30 minute periad (8 hours or greater of work time)
o To identity ike number of hours worked cach werk so overtime could be properly
agyessed
Compensation reports from Feb 20, 2012 to March 4, 2614 (end date of investigation):
. & To ensure the correct housiy rate was assessed for each time period, as a merit
Increase accurced durkig this 2 year look-back,
Schedules irom Teh 20, 2012 t0 March 4, 201-4 (erat date of investigation}
To identity which dates there was wore than [ person assigned to work at the site
(as Ms. Reeser informed me that when thers were 2 people assigned, she was
allotted the 30 minis inet perlod}

o

Siummuary of findings:

li was Getermined thet Ms, Reeser was owed 4 jotal of 376 missed (uneh breaks (at 36 minutes
such). Aitached you wilt find the "Pay Actusument detalis” (Atschments #] — #43 which breaks
down the tofal amoial owed jp Ms. Reeser tneludi ing the munter of days paid at the
regularfavertime rate and the pay vate used lor these culedalions. Also attached is the
compensation histery (atachments #0 and # 1G) showing Ms, Reeser's rates of pay inchidi ing the

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effective dates of said cates.

The review was finalized on March 4, 2074 and Ms, Reeser waa conlacted regarding the pending
payinent. Gee attachment #5). The obec was issued on March 4, 2014 and was direet deposited
into Ms. Reeser’s dank account on March 7, 2014, (Please sce attaghment 6 - #S).

nis get payment of $2469.67 (ar oes aout of 93572. 52} made Ms. Reeser whole for all Tieprid
bused payments, Copies of the doouments reviewed for this ++ year period (time cards, payreli,
compensation records and scheduies} can certainly be provided required. Atluehed is also a
copy ol' the Henzy Ford Health System Break Period Policy. (See atlashment #9)

Tf yon have any questions or concems about the above/attached information or if you would bke
additovd information please contact me at the below number.

_ Respectfully submitted,

he € ty

Jit KR, Hood, PER, MSC

Senior Business Pactuer

Ruman Resources and Yohuiwor Services
Henry Ford Hospital

345-575-6742

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Case 2:14-cv-11916-GCS-SDD ECF No. 76-4, PagelD.2438 Filed 03/24/16 Page 4 of 20

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RE Bulebhnl ssl

March 5, 3014

TO: Natalie Reeser
Re. Investigation summary from January 26, 2014 conversation

Dear Ms. Natalie Reeser,

When we met on Jemusry 20, 2014, you brought several concerns to my attention, £ have’
Hndlized ny investigation and wanted to shave with you ihe results.

Paid meal break:
You informed me that you have nol been allowed to take this 30 minute break but rather were
“engaged to wait” during this time without compensation, Por HFUS policy #5,05, employees
nye entitled to a 30 minule wipaid lunch break. Thus, an in-depth review of your schedules,
payroll records, and. compensation records has bocn conducted for 2 years back to the date that
you placed me on noitce (The Fair Labor Standards Act allows for a 2 year statute of limitations
for hack wages). As stated in my omail to you on 3/4/14, a check was processed and sent to your
bank via direct deposit on 3/4/14 for any/all days where 81: bows were worked without # Iuneh
from January 20, 2012 to Febmary 25, 2014, Included on this check is payment for a 36 minute
“meal period” including overtime calculations. Thus, anytime that vou worked over 40 hours in
a week, the funch period was calculated at the overtime rate of one and a half times your hourly
rate,

Reporting of break time:

At that meeting on January 20, you inlormed me that Fiona stated you would be “terminated” if
you contacted Human Resources about this “unpaid Junch” concern. You shared with me that
other employees were also issued this same threat and you asked that 1 follow up with your
fellow co-workers to gel confirmation. Part of my investigation was direct conversations with
the staffand based on those conversations, 7 was not able to validate this claim as no other
eniployee supported this statement. In fact, your fellow co-workers informed me that Viona had
provided them with a writlen procedure for reporting when a lunch (meal period) was not
received,

20t3 Performance Review Concerns:
You stated that “I believe my supervisor, Fiona Bork, was not impartial when she assigned "2,0.
Some Success” markers to 6vo performance categories on my annual review.” Additionally, you
taiscd concern about an “altered or deleted goal.” .
Regarding the 2 goals that were scoved at a “2.0
« Foster and Support innovation: As J shared with you at the meeting on January 20, 2014,
ihe score oF 2 was listed in error, per your Menger, and had already been changed ta a

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woos

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+ Display a Positive Attindo/Respond in a Timely Manner: This item was scored as a “2”

due to the ncod for “additional training due io numerous complaints of bruising and
pain.” At our meeting, you shared with me that a change in supplies (tape) iysued by the
company was the sole cause for these crrors. During my invesiigzation, however,
information was provided to me that your trainer found an error m your teelnique that
would cause “bruising”. ‘Uhus, it appears that this score was given in good falth by your
Manager.

Regarding the “altered or deleted goal”: As | shared with you at aur meeting on January
20, 2014, adler teviewing your performance evaluation, 1 noticed that you hada goal of
“To Grow CTPSC to 20 plus customers a day.” The volume per day for 2013 did not
reuch that goal, therefore you received a score of "2” with a $% weight. Since this goal
was not within your direct control and since the score was fess than satislactory,
requested that chis goal be deleted and that the 5% weioht be attrimuled io another goal
(which withinately reised your overall performance score).

Unemployment hearing for a previous employee:

You informed me that your Manager, Fiona Bark, told you that you needed to “Lie” af an
tncmployment hearing Jor a previous employee. You additionally stated that Fiona told you that
you wotld be “terminated” if you did present this false testimony.

Regarding the “false statements: Adtor reviewing documentation regarding this particular
unemployment heariug, 1 found an email from you, informing Fiona that you personally
overheard ihe exact siatements that you fold me were “lies”. here was algo a second
email from you referencing the fest email, in which you wrote: “I am willing to take a lic
detector test, 1 have nothing to hide. Lam telling the 100% truth.”

Regarding the threal ol termination: On January 24, 2014, I emailed and asked for
specific documentation regarding this threat, The only statement you would provide in
writing was “1 was still a nower emptoyee, T just remember not having a choice,”

Upon concluding the investigation, your allegations could not bc substantiated.

Sincerely,

Vee & Glo
Jil FB. Food, PLIR, MSCo
Thanen Resources
Senior Business Partner

Henry liord Hospital and Volimleer Services
Office: 313-916-8564

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Hood, Jin, _. -

From: Haod, Jit

Sani: Tuesday, Moreh 04, 2014 4:86 2M
Tor. - _ Nadate iC Reeser

Cn Hood, Jil

Subject: : "Meal pariod" salary adjustmanis
‘imparlance: Righ

Hi Natalie,

C-wanied to give you a status update in regards to the “unpaid Jasches” that we discussed on January 20, 2814. 7
Just reeelved nutifieation. from Payroli Liat the caleulations have been finalized and the check is being direct
deposiied into your account today.

Incindod or: this check is payment for a 36 minute “mea! period” auy/ail days where #+ hours were worked
Withouta tunch. As J previously mentioned we went back 2 years from the date (hat you placad ms on notice
(VJanaary 20, 20)2 to the current cate), .

‘The payment inelucles Cveriime caleulations, so arytime that you worked over 40 hours in « week, he loch
period was calculated al the avertinie xate of one und a half times your hourly rate,

Tf you have any questions about this payment ove you have received H, please let me know,
Thank you

THEE. Hood, PgR,

Shun Resarrces

Senior Bustness Partner

Slenvy Ford Hospital and Volimuteer Seivices
Cf Picea: 313-916-855 Get

Blackberry: 313-S73-Gra2

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System-Wide Break Perinds TR Policy Ne: 5.83 Page £ofa

Paliey Ne: 5.05

Subieet: Break Periods .

Supersedes All existing corporate and business wit policies on this subject
lilgoctives Jemury-], 1899 , :
Reviewer: December 1, 2013

Revised: September 1, 2008, August 1, 201!

Papais}: 4 :

Approved by: Human Resources Exeoutive Feam AREY

1.0  PhilusephyPurpese

Coad eniployee mental ond physical healti is important ta Henry Ford Health System. A
heakhy. amployee fear i a productive employes team, To achieve this casl, HFHS will
attempg to provide break periods to employees, based on several factors, whenever possible.

2.0 Scope

This pelley appiies to aj] employees at all bustnegs units and corporate offless at Henry Ford
Realth System.

‘The policy and procedures emunerated below shall gpply unless auc policy ar procedures are
otherwise specified i a contract to whieh Henry Ford Health System, ov a covered business
unit, id a Signatory, In suck eases, fits toms of the ecrtract shall govern for employees
éoyored by that contract, and such terms wil! take precedence over this policy,

3.6 Responsibiny

The dderpretadan, achninistratian atid wtonitoring for cemaliance ef this policy shail be the
respansibiiity of HFHS Eluman Resources and operational leaderakips,

40 Poltey

Allheugh ont cequired oy law, it is the policy of Henry Pord Health Sysiem wo provide hreak
periods to sniployees whenever possible and based on several factors. Although break
poriods are net guaranteed, they may be provided subject lo adequate stafting, for duvations
hased on the numbes of heurs worked fh the current workday, and raay be poid or not puld.
Far the purpase af tis policy, unless olkerwise stated, Cereal aoviod”
unpaid lunch aad otkes break geziods,

tueludes docti: paid aad '

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‘ Sustent- Wide Break Periods Bit Paticy Net 5.05 ‘ Page 2 of 3

5,8 PysctioyProredyre

Employees may be provided break periods according to the following guidelines:

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Est

SUPERVISOR SCHEDULING OF NREAK PERIOD

Ta order to maintain quality enstomer service standards, break periods may
any be taken if there is adequete staffing io provide condauity of service. For
{ils veason, break periods will be scheduled by supervisors whenever possible,
alihcugh the scheduling may change at any fime, Supervisors should
accordingly swive to afford all employees che appropriate break peviad(s) as
stuled Li this policy.

HFHS will provide nursing mothers sensonable break thne for um employes to
express breast mils for her ouesine child for one year afer the bisih of a chitd,
Employees aro required ta use their break time and will be granted unpaid
hreck thues as necessary, The frequency and duration of each break may vary,
A space drat ls shielded Hom view and free from Intrusion of co-workers snd
the public must be provided. Bathrooms, even if private, are nat permissible,

ALLOTMENT OF BREAIC Tis

Allotnent of and compensatiog for break periods, based on the ranber of
hours warked ln dae current workday, is acnerally 23 follows:

i. . Tkours . Break Allg{anent
4 or less No Breaky
Mors thae 4 but less dian 3 Onc C1} paid fifteen minutt braak 1
8, but less than 12 Two (2) paid fifizen minute breaks
"| and atte (1) 30 minute unpaid Innch
breals
12. or moze Theee (3) paid fiNeen minute breaks
, aud one (1330 minute wipaid inch
break é
Luneh Break - Thirty 0} minutes (Lapaid) j

These are general system-wide guidelines. Practices at specific business units
may vary. Consvk die regional Human Resouress Service Center for nore

inforraation.

COMBINING BREA ANIL LUNCH PERIODS

Cambining break and lunch periads niust be approved by the supervisor and
muy be permitted where irenkantes the operation of the requesling empleo vee's

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Sysiom-Wide Break Periods U0, Policy Na: 5.05 &

3.4 SiCiPPING BREAK PERIODS

Fnployees may nol forge break periods, including hinch neriads, in few af
leaving work carly or coming in late.

f
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MISSED PAID BREAKS

Paid breaks are part of omployees? scheduled compensition. ‘lherefore, Fa
scheduled break is misaed, no additional compensation will be provided.
Shniarly, eranfoyees may not work thewsh wapald lveak periads unless
roquesial by or othemvise approved Sy aperational leadership. Seine
employees working over forty (40) houes bn ar wark week must be paid
overlime jay for al hours worked in excess of forty (46) regardless of whether
the exia time was warked voluntarily or at operational leadership's request.
See COvperiine Policy 8.09,

36 LEAVING HEAS PREMISES”

Unless spproved by deparlntent leadership, cmployees may not leave the
promises during paid break periads. Empayees may icave dhe premises during
unpaid lunch periods, although employees doing so must return punctually.
Breaks aad hunch periods tekken in the buildivg are to be spent in designated
weas, fot iy public lobby areas or visiting other employees at their werk
statiens. Any disruptions to normal business are el pertattied,

Afinghimenis to DR Polley 5,05
None

Sez aleas Ovartiine Compensation Poliay 6.09
Work Day Policy 3.04

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